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                    UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                       Criminal No. 12-26 (JRT/JSM)

                            Plaintiff,

v.

(1) WAKINYON WAKAN MCARTHUR,
(2) SHAUN MICHAEL MARTINEZ,
(3) CHRISTOPHER LEE WUORI,
(4) ANTHONY FRANCIS CREE,
(6) WILLIAM EARL MORRIS,
(7) DAMIEN LEE BEAULIEU,
(8) ALEX JOHN JONES,
(9) DALE WESLEY BALLINGER, JR.,
(11) STIRLING MICHAEL HEATON
(13) SAMUEL KYLE WHITE,                                          ORDER
(14) ERIC LEE BOWER,
(15) CODEY JOSEPH STONE,
(16) JUSTEN LEE POITRA,
(17) JASON FRANCIS POITRA,
(19) MATTHEW STEVEN POITRA,
(21) AARON JAMES GILBERT, JR.,
(23) KIERON KEITH KIER,
(24) LANCE MAURICE HANKS,

                         Defendants.


     Andrew R. Winter and Steven L. Schleicher, Assistant United States
     Attorneys, UNITED STATES ATTORNEY’S OFFICE, 600 United
     States Courthouse, 300 South Fourth Street, Minneapolis, MN 55415, for
     plaintiff.

     Frederick J. Goetz, GOETZ & ECKLAND PA, 43 Main Street Southeast,
     Suite 505, Minneapolis, MN 55414, for defendant McArthur.




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Martinez.

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Minneapolis, MN 55402, for defendant Matthew Steven Poitra.


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       Building, 3109 Hennepin Avenue South, Minneapolis, MN 55408, for
       defendant Gilbert.

       Kurt B. Glaser, SMITH & GLASER, LLC, 510 First Avenue North,
       Suite 610, Minneapolis, MN 55403-1610, for defendant Kier.

       Robert M. Paule, ROBERT M. PAULE, PA, 250 Marquette Avenue
       South, Suite 1200, Minneapolis, MN 55401, for defendant Hanks.


       On February 9, 2012, United States Magistrate Judge Janie S. Mayeron signed a

protective order mandating that (1) discovery materials produced by the United States

must at all times remain in the custody of counsel 1 for each defendant; (2) defendants

may not make copies of such materials or retain the materials outside of the presence of

counsel; (3) at the conclusion of each case, including the exhaustion of appeals, defense

counsel must return such discovery materials to the United States, including any copies

made by counsel; and (4) discovery materials shall be maintained by the United States for

at least ten years from the date of the final appeal of the last defendant.          (Docket

No. 227.)     Defendants Wakinyon Wakan McArthur, Shaun Michael Martinez,

Christopher Lee Wuori, Anthony Francis Cree, William Earl Morris, Damien Lee

Beaulieu, Alex John Jones, Dale Wesley Ballinger, Jr., Stirling Michael Heaton, Samuel

Kyle White, Eric Lee Bower, Codey Joseph Stone, Justen Lee Poitra, Jason Francis

Poitra, Matthew Steven Poitra, Aaron James Gilbert, Jr., Kieron Keith Kier, and Lance




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        Discovery materials may also remain in the custody of investigators or other staff who
work with defense counsel.

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Maurice Hanks (“the Defendants”) separately object to the protective order.2 Because the

protective order is necessary to protect cooperating witnesses, the Court will affirm it.

       A district court’s review of a magistrate judge’s order on a nondispositive matter is

“extremely deferential.” Reko v. Creative Promotions, Inc., 70 F. Supp. 2d 1005, 1007

(D. Minn. 1999); see also United States v. Raddatz, 447 U.S. 667, 673 (1980). The entry

of a protective order is nondispositive and therefore the Court will only modify or set

aside the magistrate judge’s order if it is “contrary to law or clearly erroneous.” Fed. R.

Crim. P. 59(a); see also Local Rule 72.2(a); Haviland v. Catholic Health Initiatives-Iowa,

Corp., 692 F. Supp. 2d 1040, 1043 (S.D. Iowa 2010) (“Matters concerning discovery

generally are considered ‘nondispositive’ of the litigation.”) (internal quotation marks

omitted).

       The Defendants raise various objections to the protective order, including that it is

overly broad and should not apply to each individual Defendant; that Defendants were not

given the opportunity to argue that the protective order should not apply to them; that the

order violates Defendants’ due process rights, right to assistance of counsel, and other

constitutional rights; that it is impractical or impossible for defense counsel to review all

of the discovery materials with the Defendants; that less restrictive alternatives are

available for the protective order; that defense counsel should be allowed to retain copies

of the discovery after the exhaustion of appeals; that the protective order is overly




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         Correspondingly, Docket Nos. 290, 294, 302, 292, 287, 322, 310, 298, 293, 295, 314,
280, 296, 313, 307, 288, 291, and 299.

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burdensome, will delay trial, and is no longer necessary; and that good cause does not

exist for the order, among other arguments.

       Federal Rule of Criminal Procedure 16(d)(1) allows the Court to restrict the

inspection of discovery “for good cause” based upon an ex parte motion. A protective

order is appropriate where its purpose is to protect persons cooperating on the case and

where “[a]n adversary proceeding would have defeated the very purpose of the requested

order . . . .” United States v. Pelton, 578 F.2d 701, 707 (8th Cir. 1978). A protective order

must not prejudice a defendant’s substantial rights, however. See id.; United States v.

Naeem, 389 Fed. App’x 245, 247 (4th Cir. 2010).

       At this stage, the Court will overrule the Defendants’ objections and affirm the

protective order. The United States has submitted a detailed affidavit demonstrating that,

without the restrictions imposed by the protective order, the Defendants will pose a risk to

cooperating witnesses. The protection of cooperating witnesses is good cause for the

protective order. The United States also properly used the ex parte procedure allowed by

Rule 16(d)(1) because of the sensitive nature of the material included in the affidavit and

the risk it could pose to cooperating witnesses if made public.

       Furthermore, based on the information currently before it, the Court finds that the

Defendants’ rights will not be substantially violated by the protective order. “There is no

general constitutional right to discovery in a criminal case,” and the Defendants have not

demonstrated that the protective order violates their rights, including their right to defend

themselves. See Weatherford v. Bursey, 429 U.S. 545, 559 (1977). The protective order




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provides full access to discovery materials by defense counsel, through the exhaustion of

all appeals, and it allows counsel to share those materials with the Defendants.

       The Court will deny the motions without prejudice to allow individual requests for

exceptions to the protective order.     Such requests should identify specific pieces of

evidence or categories of evidence to which the Defendant request an exception, the

conditions under which the Defendant seeks to access such evidence, and an explanation

regarding why the current protective order would burden the Defendant’s substantial

rights as to those pieces or categories of evidence.


                                          ORDER

`      Based on the foregoing, and all the files, records, and proceedings herein, the

Court OVERRULES defendants’ objections [Docket Nos. 280, 287, 288, 290, 291, 292,

293, 294, 295, 296, 298, 299,       302, 307, 310, 313, 314, 322] and AFFIRMS the

protective order dated February 9, 2012 [Docket No. 227].

       IT IS FURTHER HEREBY ORDERED that defendant Stone’s Motion for

Hearing Regarding his Objection to the Magistrate’s Protective Order [Docket No. 300]

is DENIED as moot.



DATED: April 30, 2012                             ____s/                      ____
at Minneapolis, Minnesota.                              JOHN R. TUNHEIM
                                                     United States District Judge




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